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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

JOHN DOE                                                 CIVIL ACTION NO. 19-13425

VERSUS                                                   SECTION “D”
                                                         DISTRICT JUDGE VITTER
THE ADMINISTRATORS OF THE
TULANE EDUCATIONAL FUND                                  MAG. DIV. (2)
                                                         MAG. JUDGE WILKINSON


                DEFENDANT’S RE-URGED MOTION TO COMPEL DISCOVERY

         NOW INTO COURT, through undersigned counsel, comes Defendant, The

Administrators of the Tulane Educational Fund, (“Defendant” or “Tulane”), who re-urges its

Motion to Compel originally filed on December 4, 2019 (Rec. Doc. 29), and moves this

Honorable Court to compel Plaintiff, John Doe, to produce full and complete responses to

Defendant’s First Requests for Production of Documents, without further delay, for the reasons

set forth in the accompanying Memorandum in Support.

                               CERTIFICATE OF COUNSEL

         Defendant’s counsel and Plaintiff’s counsel have exchanged written communications

regarding Defendant’s objections to Plaintiff’s supplemental responses to Defendant’s First

Requests for Production of Documents. The parties also held a discovery meet and confer

conference on December 13, 2019 in a good faith effort to resolve the discovery issues without

judicial intervention. Plaintiff’s counsel has not agreed to produce the information requested by

Defendant. Due to the expedited discovery schedule in this case, and the fact that depositions are

ongoing and will continue on Monday, December 16th, Defendant is constrained to re-urge its

motion to compel to address the outstanding discovery issues raised by Defendant to Plaintiff




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that remain unresolved and outstanding as of the filing of the instant motion. Hence, judicial

intervention is now warranted.

                                           Respectfully submitted,

                                           PHELPS DUNBAR LLP

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                                           ATTORNEYS FOR DEFENDANT, THE
                                           ADMINISTRATORS OF THE TULANE
                                           EDUCATIONAL FUND




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